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                                                         May 13, 2016

 BY ECF
 Honorable Robert M. Levy
 United States Magistrate Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

       Re:     Haskins v. City of New York, et al., 15-CV-2016 (MKB)(RML)

 Your Honor:

       I represent plaintiff in this matter. I write, with defendants’ consent, to request
 that Your Honor schedule an in-person conference regarding plaintiff ’s concerns
 about the transcription of his deposition.



                                                         Yours truly,

                                                         /ss/

                                                         Robert Marinelli
